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7/21/2016    2:30 PM Lynn Fischer Fox         CSC Sugar & Counsel                           CSC                       Meeting      at Commerce
                                              Mexican Government Officials & Sugar
7/21/2016    4:00 PM Paul Piquado             Chamber                                       GOM, Sugar Chamber        Meeting      at Commerce
                     Sally Gannon, Director of
                     Bilateral Agreements
7/22/2016   10:45 AM Unit                      ASC                                          ASC                       Phone Call
7/22/2016    2:00 PM Lynn Fischer Fox          Sweetener Users Association                  SUA                       Meeting    at Commerce
                                               Mexican Government officials and Sugar
7/22/2016    4:00 PM Paul Piquado              Chamber                                      GOM, Sugar Chamber        Phone Call

7/25/2016    1:15 PM Paul Piquado             Counsel to ASC                                ASC                       Phone Call

7/25/2016    1:30 PM Paul Piquado             Corn Refiners Association                     Corn Refiners Association Meeting      at Commerce
                                              Mexican Government officials and Sugar
7/25/2016    4:15 PM Paul Piquado             Chamber                                       GOM, Sugar Chamber        Meeting      at Commerce

7/26/2016    5:00 PM   Sally Gannon           Phone Call with Counsel to Petitioners        ASC                       Phone Call
 8/3/2016    3:30 PM   Sally Gannon           ASC                                           ASC                       Meeting    at Commerce
 8/4/2016    2:00 PM   Sally Gannon           GOM Technical Meeting                         GOM                       Meeting    at Commerce
8/11/2016   11:00 AM   Paul Piquado           GOM Meeting and Sugar Chamber                 GOM, Sugar Chamber        Meeting    at Commerce

8/15/2016    2:00 PM Sally Gannon             Imperial Counsel (Greg Spak)                  Imperial                  Phone Call

8/16/2016    4:15 PM Sally Gannon             Phone Call with CSC Sugar and Counsel         CSC                       Phone Call

8/17/2016    3:00 PM Sally Gannon             Phone Call with Counsel to Petitioners        ASC                       Phone Call

8/18/2016   11:00 AM   Sally Gannon           Phone Call with Counsel to Petitioners        ASC                       Phone Call
8/24/2016   11:30 AM   Paul Piquado           GOM Meeting and Mexican Industry              GOM, Sugar Chamber        Meeting    at Commerce
8/25/2016   11:00 AM   Paul Piquado           Meeting with counsel to Petitioners           ASC                       Meeting    at Commerce
 9/2/2016   11:00 AM   Lynn Fischer Fox       Technical Meeting with GOM                    GOM                       Meeting    at Commerce

 9/6/2016   10:00 AM Sally Gannon             Phone Call with Counsel to Petitioners        ASC                       Phone Call

 9/8/2016    2:00 PM Sally Gannon             Phone Call with GOM                           GOM                       Phone Call


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 9/12/2016   10:30 AM Lynn Fischer Fox     Meeting with counsel to Petitioners           ASC                        Meeting      at Commerce
 9/13/2016   10:00 AM Lynn Fischer Fox     GOM Meeting and Mexican Industry              GOM, Sugar Chamber         Meeting      at Commerce

 9/16/2016   11:00 AM Lynn Fischer Fox     Meeting with CSC Counsel Kevin Orsini         CSC                        Meeting      at Commerce

 9/19/2016    4:00 PM Paul Piquado         Phone Call with Counsel to Petitioners        ASC                        Phone Call
 9/20/2016    2:00 PM Paul Piquado         Meeting with SUA                              SUA                        Meeting    at Commerce
                                           Phone Call with GOM (Under Secretary
 9/20/2016    5:00 PM Paul Piquado         Baker)                                        GOM                        Phone Call
 9/21/2016   11:00 AM Paul Piquado         Meeting with Counsel to Petitioners           ASC                        Meeting    at Commerce
 9/22/2016    2:00 PM Lynn Fischer Fox     Technical Meeting with GOM                    GOM                        Meeting    at Commerce

 9/26/2016   11:45 AM Sally Gannon         Phone Call with Counsel to Petitioners        ASC                        Phone Call

 9/27/2016   10:00 AM Sally Gannon         Phone Call with Counsel to Petitioners        ASC                        Phone Call
 9/29/2016    2:00 PM Sally Gannon         Technical Meeting with GOM                    GOM                        Meeting    at Commerce

 9/29/2016    5:00 PM Paul Piquado         Phone Call with Counsel to Petitioners        ASC                        Phone Call

 9/30/2016   10:30 AM Paul Piquado         Meeting with Under Secretary Baker, GOM       GOM                        Meeting      at Commerce

 9/30/2016    4:00 PM Paul Piquado         Phone Call with Counsel to Petitioners        ASC                        Phone Call
 10/6/2016   11:00 AM Lynn Fischer Fox     Meeting with counsel to Petitioners           ASC                        Meeting    at Commerce
                                           Meeting with Pullman Sugar LLC and its
10/13/2016   11:00 AM Paul Piquado         Counsel                                       Pullman Sugar LLC          Meeting      at Commerce
                                                                                         USDA, Office of the U.S.
                                                                                         Trade Represenative
10/25/2016   11:30 AM   Lynn Fischer Fox   Phone Call with USTR/USDA                     (USTR)                     Phone Call
10/25/2016    3:00 PM   Lynn Fischer Fox   Technical Meeting with GOM                    GOM                        Meeting      at Commerce
10/26/2016   11:00 AM   Lynn Fischer Fox   Technical Meeting with GOM                    GOM                        Meeting      at Commerce
10/27/2016    3:00 PM   Paul Piquado       Meeting with counsel to Petitioners           ASC                        Meeting      at Commerce
10/28/2016    4:00 PM   Lynn Fischer Fox   Meeting with USDA/USTR                        USDA, USTR                 Meeting      at Commerce
 11/4/2016   10:30 AM   Lynn Fischer Fox   Meeting with GOM                              GOM                        Meeting      at Commerce
 11/4/2016    2:30 PM   Lynn Fischer Fox   Meeting with counsel to Petitioners           ASC                        Meeting      at Commerce



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11/16/2016    3:00 PM Paul Piquado           Meeting with SUA representative Rick Pasco SUA                          Meeting      at Commerce

11/16/2016    2:00 PM Sally Gannon           Phone Call with Counsel to Petitioners        ASC                       Phone Call
11/17/2016   10:30 AM Sally Gannon           GOM Tecnhical Meeting                         GOM                       Meeting    at Commerce
                      Paul Piquado or Lynn
11/17/2016    2:00 PM Fischer Fox            Meeting with Paul Farmer and Counsel          CSC                       Meeting      at Commerce
11/18/2016    1:30 PM Sally Gannon           GOM Technical Meeting                         GOM                       Meeting      at Commerce

11/22/2016    1:30 PM Sally Gannon           Phone Call with Counsel to Petitioners        ASC                       Phone Call
                                             Meeting with Zucarmex Reprentative,
11/29/2016    2:00 PM Sally Gannon           Shearman & Sterling                           Zucarmex, S.A.            Meeting      at Commerce
                                             Phone Call with Mike Gorrel (Imperial) and
11/30/2016   11:30 AM Paul Piquado           Counsel                                       Imperial                  Phone Call
11/30/2016    2:30 PM Sally Gannon           GOM technical Meeting                         GOM                       Meeting    at Commerce

11/30/2016    4:30 PM Paul Piquado           Phone Call with Paul Farmer                   CSC                       Phone Call
 12/1/2016   12:00 PM Paul Piquado           High Level GOM Meeting                        GOM                       Meeting    at Commerce

 12/2/2016   10:30 AM   Paul Piquado         Counsel to Petitioners                        ASC                       Phone Call
 12/2/2016    1:00 PM   Paul Piquado         High Level GOM Meeting                        GOM                       Meeting      at Commerce
 12/6/2016    2:30 PM   Paul Piquado         Meeting with Paul Farmer & Counsel            CSC                       Meeting      at Commerce
12/12/2016   11:00 AM   Sally Gannon         Technical Meeting with GOM                    GOM                       Meeting      at Commerce
12/12/2016    5:30 PM   Paul Piquado         Meeting with GOM                              GOM                       Meeting      at Commerce
12/13/2016    9:30 AM   Paul Piquado         High Level GOM Meeting                        GOM                       Meeting      at Commerce
12/13/2016   11:30 AM   Sally Gannon         Technical Meeting with GOM                    GOM                       Meeting      at Commerce
12/13/2016    2:30 PM   Paul Piquado         Meeting with ASC CEOs                         ASC                       Meeting      at Commerce
12/13/2016    3:00 PM   Paul Piquado         High Level GOM Meeting                        GOM                       Meeting      at Commerce
12/13/2016    3:00 PM   Paul Piquado         Meeting with counsel to Petitioners           ASC                       Meeting      at Commerce
12/14/2016    9:30 AM   Paul Piquado         Meeting with GOM and Industry                 GOM, Sugar Chamber        Meeting      at Commerce
12/14/2016   10:30 AM   Paul Piquado         Meeting with counsel to Petitioners           ASC                       Meeting      at Commerce

12/21/2016    1:30 PM Paul Piquado           Phone Call with Paul Farmer                   CSC                       Phone Call
 2/24/2017    3:00 PM Sally Gannon           Meeting with GOM Embassy Officials            GOM                       Meeting    at Commerce



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                      Secretary Wilbur Ross,
                      Director of Policy and
 3/9/2017             Planning Earl Comstock   Meeting with GOM                              GOM                        Meeting      at Commerce

3/13/2017             Secretary Wilbur Ross    Phone Call with Pepe Fanjul, Florida Crystals ASC                        Phone Call

3/14/2017    8:30 AM Secretary Wilbur Ross     Phone Call with Minister Guajardo             GOM                        Phone Call

                     Ronald Lorentzen, Acting
                     Assistant Secretary for
                     Enforcement &
3/20/2017   10:00 AM Compliance               Meeting with Petitioners                       ASC                        Meeting      at Commerce
3/20/2017   12:30 PM Ronald Lorentzen         Meeting with GOM                               GOM                        Meeting      at Commerce
                                              Meeting with Petitioners, including CEOs
3/21/2017   11:00 AM Secretary Wilbur Ross    and Counsel                                    GOM                        Meeting      at Commerce

                     Carole Showers, Director
                     of the Office of Policy,
                     Enforcement &
3/21/2017    1:00 PM Compliance               Meeting with GOM                               GOM                        Meeting      at Commerce

3/21/2017    2:00 PM Sally Gannon              Phone Call with Counsel to Petitioners        ASC                        Phone Call

3/22/2017   12:30 PM Sally Gannon              Meeting with Counsel to Imperial and ASC ASC, Imperial               Meeting          at Commerce
                     Secretary Ross, Earl      Meeting with John Bode, President and CEO,
3/23/2017   11:00 AM Comstock                  Corn Refiners Association                  Corn Refiners Association Meeting          at Commerce
                     Secretary Ross, Earl
3/28/2017    3:30 PM Comstock                  Meeting with Paul Farmer, CSC Sugar           CSC                        Meeting      at Commerce
 4/3/2017    5:00 PM Ronald Lorentzen          Meeting with USDA/USTR                        USDA, USTR                 Meeting      at Commerce

 4/4/2017   10:00 AM Sally Gannon              Call with Counsel to Imperial                 Imperial                   Phone Call

 4/5/2017   11:05 AM Secretary Ross            Meeting with Imperial CEO and Counsel         Imperial                   Meeting      at Commerce



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4/12/2018             Sally Gannon          Counsel to Mexican Industry                   Sugar Chamber             Phone Call

4/17/2018    6:15 PM Earl Comstock          Phone Call with ASC                           ASC                       Phone Call
4/18/2017    2:30 PM Roald Lorentzen        Meeting with Paul Farmer                      CSC                       Meeting    at Commerce

4/18/2017    4:00 PM Sally Gannon           Phone call with USDA                          USDA                      Phone Call

4/20/2017    5:45 PM Secretary and Earl     Phone call with ASC and counsel               ASC                       Phone Call

4/21/2017   11:00 AM Secretary and Earl     Phone call with ASC and counsel               ASC                       Phone Call

4/21/2017    5:00 PM Secretary Ross         Phone Call with Secretary Guajardo            GOM                       Phone Call
                     Secretary Ross, Earl
4/25/2017            Comstock               Meeting with GOM and Industry                 GOM, Sugar Chamber        Meeting      at Commerce

4/26/2017   11:30 AM Sally Gannon           Phone Call with Paul Farmer                   CSC                       Phone Call

4/26/2017            Secretary Ross         Phone Call with Minister Guajardo             GOM                       Phone Call
                     Secretary Ross, Earl
4/27/2017    3:30 PM Comstock               Meeting with GOM and Camara                   GOM, Sugar Chamber        Meeting      at Commerce
                     Secretary Ross, Earl
4/27/2017    6:15 PM Comstock               Phone Call with Petitioners                   ASC                       Phone Call

4/28/2017             Sally Gannon          Phone Call with Paul Farmer                   CSC                       Phone Call

4/28/2017            Sally Gannon           Phone Call with Counsel to Imperial           Imperial                  Phone Call
4/28/2017   10:30 AM Sally Gannon           Meeting with GOM                              GOM                       Meeting    at Commerce
                     Secretary Ross, Earl
4/28/2017   11:30 AM Comstock               Phone Call with Minister Guajardo             GOM                       Phone Call

4/28/2017    5:30 PM Secretary Ross         Phone Call with Counsel to Petitioners        ASC                       Phone Call

4/29/2017    6:00 PM Secretary Ross         Phone Call with Counsel to Petitioners        ASC                       Phone Call



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                     Secretary Ross, Secretary
                     of Agriculture Sonny
 5/1/2017   10:00 AM Perdue                    Meeting with Petitioners                       ASC                       Meeting      at USDA
                     Secretary Ross/Earl
 5/1/2017            Comstock                  Phone Call with GOM and Camara                 GOM, Sugar Chamber        Phone Call
                     Secretary Ross/Earl
 5/1/2017    5:30 PM Comstock                  Pepe Fanjul Senior, Florida Crystals           ASC                       Phone Call

 5/8/2017   11:00 AM Sally Gannon               USDA                                       USDA                      Phone Call
                                                Meeting with John Bode, President and CEO,
5/10/2017             Secretary Ross            Corn Refiners Association                  Corn Refiners Association Meeting    at Commerce
                                                Meeting with GOM, Minister of Economy
5/15/2017    4:30 PM Secretary Ross             Guajardo                                   GOM                       Meeting    at Commerce

5/17/2017    1:00 PM Sally Gannon               Meeting with Sweetener Users Association      SUA                       Meeting      at Commerce

5/24/2017            Secretary Ross          Minister Guajardo                                GOM                       Phone Call
                     Ken Hyatt, Deputy Under
                     Secretary for
5/25/2017   12:30 PM International Trade     Phone Call with Juan Carlos Baker                GOM                       Phone Call

 6/2/2017    1:30 PM Secretary Ross             Phone Call with ASC                           ASC                       Phone Call

 6/4/2017   11:00 AM Secretary Ross             Phone Call with Minister Guajardo             GOM                       Phone Call
 6/5/2017    8:00 AM Secretary Ross             Minister Guajardo                             GOM                       Meeting

 6/5/2017    2:30 PM Earl Comstock              Phone Call with Counsel to Petitioners        ASC                       Phone Call
 6/5/2017    6:30 PM Earl Comstock              Meeting with GOM                              GOM                       Meeting    at Commerce
                     Secretary Ross/Earl
 6/6/2017   10:00 AM Comstock                   Phone Call with Petitioners                   ASC                       Phone Call

                                                                                                                        Press
 6/6/2017    1:30 PM Secretary Ross             Sugar Press Conference                        GOM                       Conference



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 6/7/2017            Earl Comstock         Phone Call with Counsel to Petitioners        ASC                       Phone Call

6/12/2017   11:00 AM Earl Comstock         USDA Phone Call                               USDA                      Phone Call

6/12/2017    1:30 PM Earl Comstock         Phone Call with Counsel to Petitioners        ASC                       Phone Call
6/12/2017    5:15 PM Earl Comstock         Initialing of Term Sheets                     GOM, Sugar Chamber        Meeting    at Commerce
6/14/2017   10:00 AM Earl Comstock         Initialing of Ageeements                      GOM, Sugar Chamber        Meeting    at Commerce
                     Secretary Ross/Earl
6/14/2017   11:30 AM Comstock              Meeting with Juan Carlos Baker                GOM                       Meeting      at Commerce

6/16/2017    3:00 PM Sally Gannon          Phone Call with SUA                           SUA                       Phone Call
                                                                                         U.S. Customs and Border
6/29/2017   10:00 AM Sally Gannon          Call with CBP on Sugar TRQ                    Protection                Phone Call

6/29/2017   11:00 AM Sally Gannon          USDA Phone Call with DOC Team                 USDA                      Phone Call
6/30/2017   11:00 AM Sally Gannon          Meeting with GOM                              GOM                       Meeting    at Commerce

6/30/2017    1:30 PM Sally Gannon          Phone Call with GOM and Industry Reps         GOM, Sugar Chamber        Phone Call




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